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    8                         UNITED STATES DISTRICT COURT
    9                       CENTRAL DISTRICT OF CALIFORNIA
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   11   RAYMOND ALVANDI,                          )      Case No.: CV 14-4379 DSF (AJWx)
                                                  )
   12                Plaintiff,                   )
                                                  )
   13          v.                                 )     JUDGMENT
                                                  )
   14   FIDELITY CAPITAL HOLDINGS,                )
        INC., et al.                              )
   15                                             )
                     Defendants.                  )
   16                                             )
        ____________________________              )
   17
   18          The Court having granted Defendant Experian Information Solutions, Inc.’s
   19   motion for summary judgment,
   20   IT IS ORDERED AND ADJUDGED that the plaintiff take nothing from Experian
   21   Information Solutions, Inc., that plaintiff’s claims against Experian Information
   22   Solutions, Inc. be dismissed with prejudice, and that Experian Information
   23   Solutions, Inc. recover its costs of suit pursuant to a bill of costs filed in
   24   accordance with 28 U.S.C. § 1920.
   25            6/30/15
        Dated: _________________                        ____________________________
   26                                                          Dale S. Fischer
                                                          United States District Judge
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